429 F.2d 577
    UNITED STATES of America, Appellee,v.Ernest William CABBLER, Appellant.UNITED STATES of America, Appellee,v.Herbert William CABBLER, Appellant.
    Nos. 14240, 14331.
    United States Court of Appeals, Fourth Circuit.
    Argued June 1, 1970.Decided July 9, 1970.
    
      John H. Kennett, Jr., Roanoke, Va.  (Court-appointed counsel in No. 14,240 only) for appellants.
      Birg E. Sergent, James G. Welsh, Asst. U.S. Attys.  (Leigh B. Hanes, Jr., U.S. Atty., on brief) for appellee.
      Before BRYAN and CRAVEN, Circuit Judges, and LEWIS, District Judge.
      PER CURIAM:
    
    
      1
      This is the consolidated appeal of two brothers, Ernest and Herbert Cabbler, who were separately tried and convicted on December 11, 1969 for violations of Federal gun control laws.  Ernest was found guilty of possessing a firearm after having previously been convicted of a felony in violation of 18 U.S.C. App. 1202(a)(1).  Herbert was convicted on charges of making false statements both in connection with the acquisition of a firearm in violation of 18 U.S.C. 922(a)(6) and with respect to the records required to be kept by a firearms dealer in violation of 18 U.S.C. 924(a).
    
    
      2
      Having carefully considered all of the numerous points raised by the appellants in this appeal, including inter alia the constitutionality of the Gun Control Act, the sufficiency of the evidence to convict, and an allegedly illegal search and seizure, we are not persuaded that the convictions should be disturbed.
    
    
      3
      Affirmed.
    
    